              Case 2:18-cr-00217-RSM Document 545 Filed 08/20/20 Page 1 of 1




 1                                                        The Honorable Ricardo S. Martinez
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 5
                            UNITED STATES DISTRICT COURT FOR THE
 6
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE
 8
 9    UNITED STATES OF AMERICA,                         NO. CR18-217 RSM
10                              Plaintiff
11                                                      ORDER GRANTING LEAVE
                                                        TO FILE OVER-LENGTH BRIEF IN
12                         v.
                                                        RESPONSE TO DEFENDANT’S
13    ANTHONY PELAYO,                                   AMENDED MOTION TO SUPPRESS
                                                        (Dkt. 428)
14
                                Defendant.
15
16
17          The Court, having reviewed the United States’ Motion for Leave to File Over-

18 Length Brief, enters the following order:
19       IT IS HEREBY ORDERED that the Motion is GRANTED and GRANTS

20 permission for United States to file its Response to Defendant’s Amended Motion to
21 Suppress Evidence (Dkt. 428) in excess of 12 pages, but no more than 18 pages.
22          DATED this 20th day of August 2020.

23
24
25                                               RICARDO S. MARTINEZ
                                                 CHIEF UNITED STATES DISTRICT JUDGE
26
27
28

     Order for Leave to File Over-Length Brief                         UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE
     United States v. Pelayo
                                                                                    5220
     CR18-217 RSM - 1                                                   SEATTLE, WASHINGTON 98101
                                                                               (206) 553-7970
